                             EXHIBIT N




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

JOHNNY M. HUNT,                                    )
                                                   )
              Plaintiff,                           )
                                                   )
                                                       C.A. No. 3:23-cv-00243
v.                                                 )
                                                   )
                                                       Judge Campbell
SOUTHERN BAPTIST CONVENTION;                       )
                                                       Magistrate Judge Frensley
GUIDEPOST SOLUTIONS LLC; and                       )
EXECUTIVE COMMITTEE OF THE                         )
SOUTHERN BAPTIST CONVENTION,                       )
                                                   )
              Defendants.                          )


                    NOTICE OF DEPOSITION OF JOHNNY M. HUNT

       Take notice that on Wednesday, January 17, 2024, at 9:00 a.m. (CST), The Executive

Committee of the Southern Baptist Convention, will take the deposition upon oral examination of

Johnny M. Hunt, pursuant to Rule 30(b) of the Federal Rules of Civil Procedure, at the offices of

Bradley Arant Boult Cummings LLP, One 22 One, 1221 Broadway, Suite 2400, Nashville,

Tennessee 37203.

       This deposition will be recorded by stenographic and videographic means and/or other

audio-visual means before an officer authorized to administer oaths and will continue from day to

day until completed.




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                                  Respectfully submitted,


                                  s/
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                                CERTIFICATE OF SERVICE

       I certify that on January ___, 2024, I served a true and correct copy of the foregoing on all
counsel of record via electronic email as follows:

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                                                                           p Convention

                                                s/
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                                                                     k




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